Case 1:16-cv-Ol466-R.].]-RSK ECF No. 18 filed 04/24/17 Page|D.lB€ H§q_qj_oki
Apri124,201711:33 AM

\M\Tzo STA':'; owner mm ru'
‘Fo\l TH?_ W';">TULM D\:)TR\LT DF- !u\c\Hc>t\l\§

jou'rH£KM D\\Hslc/J

w sua sum
rd ~I\M'\n \\)1\\¥‘1&11\4\\\£\¢1» .~ I\Cc.£.,r\\`i'
|M .§urz; Dro\\r=o.
?[RFMT\ FF ‘ p£`l"lT`\ONiF_\

KL‘I%_ D\. \\§2_¥\2_0_ af a\.,
DzFimDA.\aT.

SUT£MLMT of- Ier_:iS'F'
(."As;=_ A}Q, /.'/b"¢;d-o/s/£é

j

U.S. D|STR|CT COURT

\NESTERN DISTR!CT OF M|C
i|b Scanned b

ULSL |\\0. `\'\\LQ'C_\)”@HL>L>
l»|\o¥~\.@c,`o;(m' .3. -§¢>QKLL

PETH':OM RZQUE§T FOK 11sz m ;»'AKF_ Di!}o.$)rl@»\/ )W/J 111/15 :%‘a'w»’
Duczs Tzauu 1311/25ava ro Er:.¢;.[l. )Za/,»; ze,/Zuls, 3a mm £.'//‘z 45

NDW COM£,.SJ Ac-,mr Z('A\\A'm i\/luha,r~ma,i; \m 5\{1 dur{s u_m‘h

©f_“rm rm r\`\?_®\xf.STn\\C» Lc’./\\}e.

m P.R. 1;. P. mm u,.m-L.z,?>o.@u; mm§ m r#z. F¢/

/cw;dg, . amf sra/155 :

@>Hj§‘i»?

T't) T¢'\i(?. DLPG>`rl’m/\} Ami .S..¢&H“OUI¢\ clu£.£§ Tecuvu\ pm'$uan"

I. P£FSC,HJ fo be Julrjf’ofv!aec(. Fo;' é;<:rMmMF/¢s/) lW :j€p""a;;,r;g,q A;;g a§ 5//@;5§

vl. Dr'.FmoAm I¢`\ll.z A`Mz_r¥al, a<§é~n.z$>t I\\mm\`> bherri.s Q¢,\\c@_@e»?i¢. /

"{%\"{ B~ `L‘UMZ\`{ ‘.'JT./ l\\ofL"mL'\ 5\"‘6\1,€'> »MT. t'm“\q\.

_b.i 3¢\\\\! l\. lawson ~\J\u¢oc¢m\\. aA)m,sz>'. ll,c>'f“ Dlsmm“ czac_mv arm ul
\\k\m\\b&k_?_. \Loi§ll\- \-LM\ Q§ haw lc,z_ / ‘\‘U) TMC_?. 311 / U\U§LQ@M, MI LHLM?_..

\rc>l' fg-

CaSe 1216-CV-Ol466-R.].]-RSK ECF NO. 18 filed 04/24/17 Page|D.lB? Page 2 Of 7

c. umw \_. \)Q\\\Lz.-'>, ullxess: 14“* AWLC\:\L (‘_\ru\_u\r CMT/ M!<;HA£L
z wm ~ \~XA\\ D§ AMTM_ /<1¢\0 mama gram / nhst MI 49#42.

1. Durnm> run wamw\m"o\\ rl¥; suhsmmc¢ olng Ap.€owr\ov\, b\/ Tesnmv\\/
win K\ll_z_ f&. wm UW¢\ DLT. K‘{l_?. b.\(\\?_\\i& m\\\ be \’co\)\mc~\c> \§ T\wv Ky\¢ Il. c\\a\\¢rr..&\$
N:r\m, as a M¢ce, uf\zcv\ L‘L o¥§+r FA\se_ Tst\uov\\'~ FAB¢ co\bwo.; uw)irc aar/l 7'/»(’/?3/;\)
by lwe so ammm¢i Ferdura»/ which w.:m' L//lcoruze¢m{ mud Av~ mo r/mc u/A$ r//z FFrJ//K\/
f€,T(Lk_TLA, l\m'\w(:> o.\A r~)m`¢c,`\k\ ¥foC,CLA\'r\\E> b@{~dil& T'NC dauc{LAld(£ Ma£/$TIZAF£ IM/cha£[ l/IM@%.

"5- Duf'mb ’\\A`\§ ?_¥mvuvwv'm\ T\u, su\oswu\c,c o£'¢'\\e; A€Posmov\ , 109 resumch
T\wf \Ul_e_ A‘ MF\M'_{ u:>\\\ \;L (’ro\)\c\.w\<> \a T\m- le.e 1\. ?\)e\r\c( aaT\u/» as a \MML C\T\?Lk\ ¢¢T'

T\¢w_, q\ooue, mun-md a¥£(cja\ Pfocu&m[> A.\L w§u.'>e. T\¢\c 9(<>¢£5§,'0\1€.?(0¢€35 mAcLiZeé)u\slT€§
mm r\\e fw\/~.\L\“vk W\,Ll“/\ fxmu&»m\' £-T\&L dunn arms Cw\smummL, lo‘/ oF&x.A)¢,

Fc\\se, newmsz ~ FA\§L emma car wm (’r<>c.e¢<\,me.

‘\. Bu(`w\(, T\\‘»s uawm:r\\m§ v\¥?_ su\¢\b\s\m. o§-M&¥\o’)\'r\av\ ,W manuan
T“k"v K‘I|.C k MQML( \)Jz\\ \D£¥{A\)\L\.\\\L»» \‘> T\AMT \L~|L.c `\\“€l/\€( lick b§'(\:€(` \'¥€N`§)-`{ T£§`l\\kw\`(

T\me.u\\ {\}\\s<<?cesmm(» Tk¥z_ FAJ§, mm ¢\\50 ThaT 'rk`\s DLF£nAQ./\T Mus‘v Pr@¢{ qP T\ic
C.\Am, W ?foc.¥ oi' C,\a\¢\/\ a(>o[\v\sT T\'\+; moum\r’? no T\\‘z. unrsz 52- lnC>'Y“BH>TV_c`cTClm\T
wm C.o.sz men U\ML\%-F{ bi €'wo§' a¥ rov.'\' N,mror Bzemum \L‘!l_e_ L\.\\\dner A¢m)c,
m mae emma ?Brmemcg dam/chavez 052-ron A(,c\n\)sv \5\¢\\“'\'\€? .QTMM\-w`
STAT£B Aefe`\m m)\).au'c=_ B¢:Lem\owr 15 c\m<`c>eé .A\T\¥ Pemr‘l 1 FA\sP. i,\).v)wc,e,) am &
\\)\l'>use_ 52 Qf<>c.es"> no `\\\z_ \~X¢JT$,€L bF till»~t,\/~Ol¢lé,(,,.

5. Qcoo§' ccc Uu\u\ most &e, §\\m¥e\mcn;& \o\l \lef 1{¥\@¢\0|\\ du:le\' Dosr\i
\l`{ '\’\&2, Q<’ISM\ Na`{`\m(> \T, 911(3\&<1“<\` ’\`o U\l`_L. 5.\\"\(@(\)¢

.o§(@.

l~.\

CaSe 1216-CV-Ol466-R.].]-RSK ECF NO. 18 filed 04/24/17 Page|D.lBS Page 3 Of 7

6» dufnn{> 'T“\§ imM\v\ava\ ,'\'\H; subs'm\ACQ. oi-‘\`lx€. AePoSmcv\ \u¢ll Sme /'F
Pfoc¥- a£- C\Q\M f.)<m‘ mm FRL afoul mAlnl\sl(./\c> suh>ccT lum-ram bum'.)mc.r¢on Faf€
T\¥z C¢Ma>r m Qrecazb l>.w.\¢\)s\' l\ l°m‘l l>l \ssuamo, 09 wm.c\m, l.' shows Thm' l<lle
l\\ l\le\l\u ,au\m<, as a ~\el'e c\r\w\) wl\\ s\mv~\ ~\G we unwle T\Xe. dmees, or rll'e
C\m<>ez are w‘\\€\c& .Mé. T\le. ”l>w\¢\ w Tlne. ewers wm d\so c,err\F.eLlTlxv> l)ms'ro

he ¢Ly\e_ \nl T\\e haus¢( r£Af\\\\)(> Tll\\o\M mo Tl\e. immune cm T\Aa wool wier 00~1+\.
Me\vl\er Tll»a Pr<)suwmrv\ ml Tlle. ldcl-w\l\l)% l.\\ rll"\s ma helm “\lx\s amf Lllc¢l\.
Mel c.m fate ‘\'\lmv Posmon as weaver lms F\rsv lm& \<mwleAée as accou\¢zz& o€

owl h`m\~u\~of\l \l\olm'lov\ . *l~\L prosccwx~or wl br G;€LMOA»T l\\e,\ner e\T‘m\r lms m haue,a.
Cc\a“mk\’ wlT\‘\r T\\£, A{m§r’.A md '\`\\€_ kLLusi,A ot`x(»\\m\ 319/draft \l\.\‘\`“-& (€A orér'e@r\ »L\K,
br Tlle, l°rosewvmv\ lms w wave Tlle rfsnmowl ol» av\ mug \vl§ure&, Pml . l\'> aozelrl¢\`.l\c,
l\a Lozmlvll»m, ‘r'lne umaam\\¢\ul @roscum>r \r\wl.\e_ mmr ol» ease Mo.lll\l°la.\&~l:\/ oriel}l\¢la»v
Mel\e( wm\& be.a\n\<>. To oQ'll-ef m ‘\`\\Lmlm~‘\`tr ce (`As€_l\\o. l‘llbll,l?>-FY 13 cmi asks ll€N'Sa\l only
null wiumrr_.l,\s member l\os am F.rsv ll)ma \<MA>\<L¢; al- N\N sumle vlolqv¢om .

7a Tll; mmlnml=¢m Proswm»r; /l\) Tlls. l/l/lavrzrz_ oF wm /3/'57)2/¢ rCi&cu/r
Courm' C,Ase_ klo\ lLl\blblB‘Fl Fofu'llz_ &£Ple o~l-T\la s'rATL o(- M\c\,l\(,m mo D&Fz»lllml'

lLlLi_ ll“l\\el»\e(,ls\as wl\ olnllc>o.i`\ol\) m cem€l Tlle changes /c;la{u N>AMST ¢_ll~z_ A¢cus.zi »l\l
‘F\\Lmvrz_€?_ zurle \r\el‘e\u\ l qua S\mv\) PIOOQ~ ace \mlml.r‘l.

B. D~zimmm l\le\l\ef mar mm<m‘re, lull Tllz nasd ~rm'\¢\e C_wr+,

T\;\f; S\c>mcmur€_ D§~T\§Q ACLusz.A w a (`,cv\TV-MT. of cwl\l l\~§-Qlc\,q\m' , or Ta§\`\l~um‘l uw\ef
bowl cl T\lt am ms zo.w\q mm rla low wymng lllclml umwa ll
T\ne acma\ \r\ldurer\» gold ,Tlam‘ Ll\L»mT i_lA\/l§ux Mul.l\a MMZ~_A lms cwwl,rv'zcl o`
ncr abam§~r owu>rl¥ef Pal\“l.

go DAnv\(_-> T\l\\s wwmamov\ Tlr\e smlnswv\c,e. ai`-Tl)a, AL?osmou\, 03/ Te.m,uom/
'Wm- 5¢\\\4 A\dc>\msou\-Nll`,£¢¢>m\l> oil-mal Cmrr raoréer w\l\ be l“roul<ime ls Tl~»r

.500£' (00

CaSe 1216-CV-01466-R.].]-RSK ECF NO. 18 filed 04/24/17 Page|D.159 Page 4 Of 7

Sali\l k lalmsmn AML cenle ”\lm; wwsmllls D('Tll\e, cwi>lm»r\' mi loame %eiav~@
‘dr\e, \rlmowla\e MM\STMTL M\dw¢\ \im\\l$’l’§ . M\\l BO,Lo\"i \\\ Mu$il£éa)\§/M: "i°l“i“iz~

\O. idufl\h(a ’\'\u’u Ci¢lmlMN\m/\ .'i\ALSulAsTa\/LCL QLTMP, A€pdS¢TloV\,b/TC$7WW

T\m' Sal\\l i\.§o\msovl-Mc@ow w.li as'vl\lol\sl/\ mvmrmsca\l>ls e¥`r\l¢z_ umwa grasz
o§iékunl flowr§mle mll\ amfle film w \5 m mar anonima 09-1\\\ 510 ll\me_

vlms¢m~vs aw$ all lsmuz_ wm cowen

iiim' Skii~l Al.\ai,msov\-MC[,QKLN\) umli p!oéuc,e,rliese_mmscrc\wTS 6a
\\AS?£(X\D\\\ ink T-'o‘L 9\1(905€$ oi~ d€?OS\T\or\d.

il- Du'r\mb T\'\\§ EM\M\\/\m' 10»/\ ,T\ne wln‘smvlc,o. 051-rda c\€%\r»<>v\ , ir>\'
Tim\\\mwl Y‘<\q‘\' \l\laccm l_. u\)\\léz_s Ci)(\e¥ ®c:l’m`l C¢uo:\’ C\?_lu; F¢;v.‘\`llz bOT“M<L
l‘l*‘~ L\Léu;\k\ C_\v.c»l~r Cm'_m mwsv Pcoé»»c_e. Tl¥t. f.\)mzm;i. o F l.ulo\\\vl mer
Nl¢\m_v. of- L,D‘\k B\»>m\cr C\lkcm'»'C@u a.T uacno.\“\lloll@l%'\:f ov\ Tl‘v~'¢, szré, 1 bail
ji\w.\\r\c> T\\l>:r T\ML Q\a\mvlcll \l\mle, md \\a\m\\‘r`l TO T\\<¢_ b`T)lm/wz, \mTllcz MM'\£L
0¥ C,c\<_.<-_ wo.\“\llpll,l&»\€‘l As dimmed um*r\ \l.(>lar\nc, ll\ll.Aze§o. L.. v§i\l¢es Ws\’

P(o<§\)\cf_ T\)l\e.fr_\l\ldz.)\lr;i_ O§~Ccc¢vé,.

il. Duflvlb T/»l¢§ ixAM/A/Ar/on/ /`/~‘$. SMMSTAMCC oF 7`#£.¢1€»°03/7/0/7, f)’\/
kevqu Tlmv Mcuro,\<» L. ld\\l<es cwle iwmsvrarc, To Thc C¢>lm“ T\m' )l¢c can
Ccn'\i`r~( M~v Tlr\e_ (`_\mlf>¢$ amA.T\u; Cnc\e:> arc B>v\..\.e¢\ \m'rhl 1 » i.Geu\' Z_l'l\.v\m
l\kv\imw\w\ AA \\u.\)‘e. rowan '\`\mr ’\\Ael€, owe ce<'\`q\l\ cowA\T\c>vl§ 9¥:¢€&\/\°\ , am LT\NK
is , ‘l \;wl\)e Tr> l'\w>u) '\'an<r T\'\€ L\mme,s are C.em@\cc\. ,Tlm\' mel acml\f £hs\'.
ira occécc To \1\& c\mr@e§, '\T \l\a'> TO \D€. f€l\A \vm_\ Tl'\c {ccoré, QMA, ’l\\evl ce(T\F\£l
io\l 'l`l.\e \v~§uleA Qqn‘l \Qrmc§\r\(, fine dmme.s, lm<ier Pml‘c‘l ol: Pc{§url’ ,auA Tlm‘\’
T\e. l;cAcS am '@>om\e;\, . T‘c\e?l manoli \f\us ~\'o ?(o\)€, Tlil\‘r 'd'\e, canal \Aas o..
\.alml,\rf fo T‘AL co<\,z_ umwa n\m\:\ Tl\e_ accused w\w\\z, wm'erz. o l= U.§e root
l‘\ll,ll@\%~€l wm ¢\MQL. u)lW_l,\ 1111 m lreseme¢l Pursmvw uc.Y_.B.//qa>)mc¢> .

‘-[¢ 0& (.D\

CaSe 1216-CV-01466-R.].]-RSK ECF NO. 18 filed 04/24/17 Page|D.lGO Page 5 Of 7

13. T“LQ€QO§(TIOIO /SulnPOC\/\a lucas Ti£,uw\ wicker T"<\€, l)eumll~\l ol`~ pcr)uf‘/

.~s measle SPwP,\u\\\l For wll;, vw Qr».\l`\\s\»`~\<, wm me aowrv was umw Fw. l°v<>.lw
ea l%l>.l sumsz Wm,€. `lm:m\mor\ QM, m P¢JSQM y¥~ manual mn'l\; wr+.v_ o ii
loo“~®lsm\c_v (L\&C\MT lawn C_asa. uo. l“llL\l,l‘?>`F/.

l*l. ?u\Ls\m/or To uU_S § 1513-lo "(las L~.£:>mz," ¢v_ mm\crm§w.nm
am Tlr\a c.\rc,vmamuc_es/ Fe.cr§) ach <ler,laurlc\/Ls which Grou.\ our' o C» Tlm, lMAn/\ FA¢¢',

wcc Cc\hww\\’<>mems wall .T . null sam To ‘\lluexmz_ .liz ¢-,\mrwr~ul.. l%ol>le. u. LMN{,
'LBB ll \Q>lo\ \°\\(_lq’a'~\).

\5¢ Muwm"> `\'O llde SulDPoRl/lo.€.¢L afL€ c¢S Follou¢">“..

oh Tmms¢m 913 <>¥chl>law\v ¢WL vacuum &LFOM_ Tl¥e_ llmmlzle MAUSTML

l\l\\¢\m_\ \lmZPPS-b\l'\\l ?JO,‘LQ\\\~ Mu<.lez>¢lo,l\)ll Tru>m¢u\l>elg \ol ":,Alll ill lamm-wm

tim ?>‘-ll>c).
b. P(oo\> T\\¢.TT\le_ C,lmmcs are %0»\&¢\/"?)¢115 ¢¢r'\`lle clmrc>es", l’§omlei

C\).ul(>e§ h\) T\r\€. \l\lm~T’dL og- lo()m lha“mllc.`\’ C,\€,C\MT CcW.T C,k§z MO\ ll-lll>ll»l?>‘FT/»

C. Tl»a“x' PlooQ- olfr\lz sm'mrm'\l Coni_$ are, houlQL/“EXML$ FO{~ .`Ll_¢~
Cordz.$ ", B)Q\AA€A le£§ no Tll£ W»¢crl'alL ol? C>OW l§\sml<.v Cw_clm* Cou¢u' (,a>e m lLlll¢ll,lB~F/.

cl. Tliaf_ Cov\‘tv.?~c.'\' oLDAQ~\La\hT cw\T\~\£ metal Slm\»'\v\G> MusL-¢L Il\> Tlft
mm€l_ o\- bGWD\sMcT C_\c.umf (_ma:r CAse_lQo. l\lll»ll,llz‘€`l owen/ial s\<»u\murm lnTllelre&
erc mm mlL m T\lmr \wl a mac \v\§u\'crk lole /ar.m»\ m§ml» l’qlr\l acou.e,wew\'m'v
oxme \)\a% c‘bwu/\\TYLL q~for'\' awlus? amor\&cl' l)MT`l¢

€. U\O&M<‘,L oi`r\\l\m\w\l lc\d“f\r\e murrell cv\v`zcof<§~o§\~ L»©W ®Fsmldl'
mem wm C,lzm@¢lqu”u,,l§>~?l, ,')W.Nc, l.all\lnl w T\l; gmer amswl'ls
C§N.\‘(>€z\, ua\T\\. \l\D\ucT'\\A(_-,.

S.QQ’ lQ~

CaSe 1216-CV-Ol466-R.].]-RSK ECF NO. 18 filed 04/24/17 Page|D.lGl Page 6 Of 7

Kif_izz: mm CoA)aLLLS/OA/

WHERé.f-`ort'l; T[~¢[C Couf?` Sb¢m/c{ F;ml' flaw T/¥L /?€ff’€?hai"m;/? cfc 7`///'3
Ae£]cb-Lr\m\\ /T»z.‘>T¢NoM" maker QW.W 0§- Pem(\f (€» €'u>?ar m owed l H\\ufe. 0§~
$~M\c.; , ML 'i\@.re.£m, fm O@¢Ler a\\w)\v\c, Fmr T\»w> PQ,T\T¢@MF mcwng 1501 leave
T:> TA\LL <§zzl\>s-.T\ov\ mm wl))@r»€.m éw¢s Tzc_uw\ shom\x§ \nc. émam@¥ N\BEL T\M%_
ade %\cme sz, c§e\?owmv\ zua\\ \'m:, mun-mei h\| T\¥L (`_Q»\.m“ no T#¢s )/L{aml Awf'd
Sc\xcl\.ua\e<.\, ar T\»_Cmr'r'= mem earl.\cs*f A\)a\\g\»\e Dm,.

'Dm_‘. AYLL_ jaffle MVL~QW
/5/

/)GLNT' HAMM MstAL/»Ma.cl fw Sc,u §§
wif"!-éom' Fl?zjud¢cz. l,l C.C.. f-Zo¥

am \ec,‘ 5: awme M\xww®

®ro\m`h\\o. M_&_
N»\Ll\\c>c\l\d RL(`G<LMT@{L\[ u)'é~ai\\m&'.

PJL\,L\D\\) \`)\).EM!\> S'\a
:b`(\\i\.:\\)\;. q&%)%£:>

(@¢OS`(&»

 

 

 

 

 

\Z>dcé}w wQ~SrNW“
__wmq rY\\ \\%?>\\LP

:W Qm€w?z$

\l<g dlémw_'\" C_¢uv_'~\' Q_\cil'(.
Ml<_url&>ét\§

wassz Di§m\c.r@»i_
?>»35 Fi,im\_ ‘Biar>

LUO um \‘\)\\¢~_\'\LQN\§ how
KAL¢~MA;QO MI quo?»

imwwmmwnwmmmmdmwmmmw

  
  

/' »x.\
\. }'\§ .J- RSK ECF No. 18 filed 04/24/17 Page|D. 162_ Page 7 of 7

§§
`€1¢;§§$@6$001.19°

§ U S POSTAGE >> PlTNEv eow§s

'*i ¢¢"=w._::.":

    

 

 

:=u.-.l]'.`£ 0001395341APR 19 2017

